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                                    UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF TEXAS
                                        FORT WORTH DIVISION

HAROLD FRANKLIN OVERSTREET,   §
                              §
     Plaintiff,               §
                              §
v.                            §
                              §                            CIVIL ACTION NO.: 4:20-cv-00242-A
ALLSTATE VEHICLE AND PROPERTY §
INSURANCE COMPANY,            §
                              §
     Defendant.               §

                    DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

         Defendant Allstate Vehicle and Property Insurance Company files this Motion for

Summary Judgment and accompanying Brief in Support. Pursuant to Federal Rule of Civil

Procedure Rule 56(a), Allstate seeks summary judgment on all of Plaintiff’s remaining claims

based on the doctrine of concurrent causation.

                                           I.     SUMMARY

         1.       This lawsuit arises out of an insurance claim Plaintiff submitted to Allstate for

coverage under his homeowner’s policy for alleged storm damage from a June 6, 2018 reported

date of loss. Originally, Plaintiff alleged: (1) breach of contract; (2) violations of Texas Insurance

Code Chapter 541; and (3) violations of Texas Insurance Code Chapter 542. On July 28, 2020,

Allstate filed a Motion for Judgment on the Pleadings and Brief in Support [Dkt. 26 and 27]. On

August 25, 2020, this Court granted Allstate’s motion in part [Dkt. 36]. Now, the only remaining

claims are breach of contract and alleged violation of Texas Insurance Code Section 541.060(a)(7).

         A.       Elements to Plaintiff’s Breach of Contract Claim

         2.       The elements of Plaintiff’s breach of contract claim are: (1) the existence of a valid

contract; (2) Plaintiff performed under the contract or tendered performance; (3) Allstate breached


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the contract; and (4) Plaintiff suffered damages as a result of that breach. Allstate seeks summary

judgment on Plaintiff’s breach of contract claim as to elements (2), (3), and (4) on the basis of

concurrent causation.

         B.       Elements to Plaintiff’s Chapter 541 of the Texas Insurance Code (Statutory
                  Bad Faith) Claim

         3.       The elements of Plaintiff’s claims under Chapter 541 are: (1) Allstate committed

one or more acts prohibited by Chapter 541; and (2) these acts resulted in actual damages to

Plaintiff independent of the underlying breach of contract claim. Allstate seeks summary judgment

on the remaining Chapter 541 claim on the basis that Plaintiff cannot prove Allstate owes him

additional benefits under the policy due to his failure to segregate damages.

                                           II.     PRAYER

         4.       For the reasons stated above and based on the arguments set forth in Allstate’s Brief

in support of this Motion, Allstate respectfully requests that the Court grant its motion for summary

judgment as to all claims asserted against it and for any further relief to which it may show itself

to be justly entitled, whether at law or in equity.




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                                            Respectfully Submitted,

                                            /s/ Susan E. Egeland
                                            SUSAN E. EGELAND
                                            Attorney-in-Charge
                                            State Bar No. 24040854
                                            susan.egeland@faegredrinker.com
                                            SARA E. INMAN
                                            State Bar No. 24073098
                                            sara.inman@faegredrinker.com
                                            FAEGRE DRINKER BIDDLE & REATH LLP
                                            1717 Main Street, Suite 5400
                                            Dallas, Texas 75201
                                            (469) 357-2500
                                            (469) 327-0860 (fax)

                                            ATTORNEYS FOR DEFENDANT


                                    CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing document has been served
on all counsel of record in compliance with the Federal Rules of Civil Procedure on February 17,
2021.

                                            /s/ Sara E. Inman
                                            Sara E. Inman




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